                  UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA



AMY BRYANT, MD,

                  Plaintiff,

            v.                              No. 1:23-cv-77

JOSHUA H. STEIN et al.,

                  Defendants,

            and

PHILIP E. BERGER, et al.,

                  Intervenor- Defendants.




          DEFENDANT ATTORNEY GENERAL JOSHUA H. STEIN’S
               SUPPLEMENTAL MEMORANDUM OF LAW
                IN SUPPORT OF SUMMARY JUDGMENT




    Case 1:23-cv-00077-CCE-LPA Document 98 Filed 02/05/24 Page 1 of 19
                                       TABLE OF CONTENTS

TABLE OF AUTHORITIES .................................................................................... i

INTRODUCTION.....................................................................................................1

ARGUMENT ............................................................................................................3

I.       THE CHALLENGED STATE LAWS ARE PREEMPTED BECAUSE
         THEY UNLAWFULLY INTERFERE WITH THE CAREFUL
         BALANCE THE FDA STRUCK IN PROVIDING ACCESS TO
         MIFEPRISTONE. ..........................................................................................3

CONCLUSION .......................................................................................................12

CERTIFICATE OF COMPLIANCE ......................................................................14




                                                           i

     Case 1:23-cv-00077-CCE-LPA Document 98 Filed 02/05/24 Page 2 of 19
                                     TABLE OF AUTHORITIES

Cases                                                                                                                 Page(s)

Arizona v. United States, 567 U.S. 387 (2012) .............................................................. 5

Buckman Co. v. Plaintiffs’ Legal Comm., 531 U.S. 341 (2001) ................................ 3, 9

Geier v. Am. Honda Motor Co., 529 U.S. 861 (2000) ....................................... 3, 4, 5, 9

Hillman v. Maretta, 569 U.S. 483 (2013) ...................................................................... 3

Hillsborough Cnty. v. Automated Med. Labs. Inc., 471 U.S. 707 (1985) ...................... 3

Wyeth v. Levine, 555 U.S. 555 (2009) ......................................................................... 10

Statutes

21 U.S.C. § 355-1 ................................................................................................................3

21 U.S.C. § 355-1(a)(1), (f).................................................................................................1

21 U.S.C. § 355-1(d) ...........................................................................................................4

21 U.S.C. § 355-1(f)(1) .......................................................................................................4

21 U.S.C. § 355-1(f)(2) .................................................................................................. 2, 4

21 U.S.C. § 355-1(f)(5) .................................................................................................. 4, 6

N.C. Gen. Stat. §§ 90-21.83A(b)(1) ...................................................................................7

N.C. Gen. Stat. § 90-21.83A(b)(2)a............................................................................... 7, 8

N.C. Gen. Stat. § 90-21.83A(b)(2)b ...................................................................................8

N.C. Gen. Stat. §§ 90-21.83A(b)(4)l ..................................................................................8

N.C. Gen. Stat. §§ 90-21.83A(b)(5) ...................................................................................7

N.C. Gen. Stat. § 90-21.83B(a) ...........................................................................................7


                                                             ii

   Case 1:23-cv-00077-CCE-LPA Document 98 Filed 02/05/24 Page 3 of 19
N.C. Gen. Stat. § 90-21.83B(a)(2) ......................................................................................9

N.C. Gen. Stat. §§ 90-21.83B(b) ........................................................................................8

N.C. Gen. Stat. §§ 90-21.90 (a) ..........................................................................................7

N.C. Gen. Stat. §§ 90-21.93A(8)-(9) ..................................................................................8

N.C. Gen. Stat. §§ 90-21.93(b)(1) ......................................................................................8

N.C. Gen. Stat. §§ 90-21.93(b)(6) ......................................................................................8

10A Admin Code § 14E.0305(d) ........................................................................................8




                                                         iii

   Case 1:23-cv-00077-CCE-LPA Document 98 Filed 02/05/24 Page 4 of 19
                   UNITED STATES DISTRICT COURT
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    Case 1:23-cv-00077-CCE-LPA Document 98 Filed 02/05/24 Page 5 of 19
       Attorney General Joshua H. Stein respectfully submits this supplemental

memorandum in response to this Court’s January 17, 2024 order converting Legislative

Defendants’ motion to dismiss, D.E. 83, into cross-motions for summary judgment. For

the reasons set out below and in the Attorney General’s prior briefing, D.E. 86, the

Attorney General respectfully requests that this Court grant summary judgment to Plaintiff

and enjoin the enforcement of the challenged state-law restrictions on the provision of

mifepristone because they are in conflict with, and therefore preempted by, federal law.

                                    INTRODUCTION

       For more than two decades, the Food and Drug Administration has allowed the use

of mifepristone, a drug used for the medical termination of early pregnancy, pursuant to

certain conditions. These conditions, known as the Risk Evaluation and Mitigation

Strategy, have been imposed by the FDA under its express statutory authority to:

(1) decide which drugs carry risks that require a REMS, (2) impose conditions that

appropriately mitigate any risks of taking these drugs, and (3) ensure that the burdens that

the REMS conditions impose do not unnecessarily impede public access to the drugs or

cause unnecessary burdens on the healthcare system. 21 U.S.C § 355-1(a)(1), (f).

       When the FDA approved mifepristone in 2000, the FDA imposed a number of

conditions it deemed necessary to ensure safe use. Since that time, the FDA has regularly

modified the drug’s REMS based on evidence that has been compiled across two decades

of use. As part of these modifications, the agency has rescinded a number of conditions

that, in its expert scientific judgment, are no longer necessary to ensure the drug’s safety
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     Case 1:23-cv-00077-CCE-LPA Document 98 Filed 02/05/24 Page 6 of 19
and instead cause unnecessary burdens on access and delivery.

       North Carolina law reimposes some of the very same restrictions on mifepristone

that the FDA has withdrawn. Plaintiff challenges seven of those requirements. Under

well-settled preemption principles, these requirements violate the Supremacy Clause

because they frustrate the careful balance struck by the FDA pursuant to its express

statutory authority. As a result, this Court should hold that the mifepristone REMS

preempts the challenged North Carolina laws to the extent that those laws impose

restrictions on mifepristone that the FDA previously required, but ultimately removed.

                                      ARGUMENT

I.     THE CHALLENGED STATE LAWS ARE PREEMPTED BECAUSE THEY
       UNLAWFULLY INTERFERE WITH THE CAREFUL BALANCE THE FDA
       STRUCK IN PROVIDING ACCESS TO MIFEPRISTONE.

       Since approving mifepristone for use in 2000, the FDA has continued to calibrate

the optimal balance between the risks of the drug and the need to minimize burdens on

patient access and the healthcare system. 21 U.S.C. § 355-1(f)(2). The state laws that

Plaintiff challenges here impose the same restrictions on mifepristone that the FDA had

once adopted but has since deliberately rescinded. The reimposition of these restrictions

under state law frustrates the delicate balance that Congress charged the FDA alone to

strike. As a result, these state-law restrictions must yield to the FDA’s considered

judgment.




                                             3

     Case 1:23-cv-00077-CCE-LPA Document 98 Filed 02/05/24 Page 7 of 19
       A.     Federal Law Preempts State Laws That Impose Restrictions That the
              FDA Has Implemented and Subsequently Retracted Under Its REMS
              Authority.

       Protecting public health and safety is “primarily, and historically, a matter of local

concern.” Hillsborough Cnty. v. Automated Med. Labs. Inc., 471 U.S. 707, 719 (1985).

But federal law may nonetheless preempt state police-powers legislation in certain

limited circumstances—including, as relevant here, when state law “prevent[s] or

frustrate[s] the accomplishment of a federal objective.” Geier v. Am. Honda Motor Co.,

529 U.S. 861, 873 (2000); see also AG Br., D.E. 86 at 15-17. A state law frustrates a

federal objective when there is a strong federal interest with which the state law conflicts.

Hillman v. Maretta, 569 U.S. 483, 491 (2013); see also AG Br., D.E. 86 at 16-19. The

Supreme Court has long recognized a strong federal interest when Congress authorizes an

expert federal agency to comprehensively regulate complex or technical subject matter by

balancing “difficult (and often competing) objectives.” Buckman Co. v. Plaintiffs’ Legal

Comm., 531 U.S. 341, 349 (2001).

       Here, there is a strong federal interest in giving the FDA the latitude to set and

revise the rules for how and when drugs subject to REMS may be prescribed and

administered. In the 2007 amendments to the Food, Drug, and Cosmetic Act, Congress

created a regulatory scheme that gave the FDA a unique degree of control over a specific

subset of drugs subject to REMS. 21 U.S.C. § 355-1. The statute’s text shows that

Congress’s purpose in giving the FDA special authority over these kinds of drugs was

two-fold: (1) to “allow[ ] safe access to drugs with known serious risks” and (2) to


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     Case 1:23-cv-00077-CCE-LPA Document 98 Filed 02/05/24 Page 8 of 19
“assur[e] access and minimiz[e] burden.” Id. §§ 355-1(f)(1), (2).

       To accomplish these twin goals, Congress allowed the FDA to include in the

REMS for certain drugs “such elements as are necessary to assure safe use.” Id. § 355-

1(f). Congress specifically authorized the FDA to consider certain restrictions in

particular, including requiring healthcare providers to have specific training or special

certification to prescribe the drug or requiring pharmacies and healthcare professionals to

dispense the drug in particular ways. Id. §§ 355-1(f)(3), (e)(2).

       But Congress also required the FDA to calibrate these safety restrictions against

the burden that they may impose, ensuring that the safety restrictions are “commensurate

with the specific serious risk,” are not “unduly burdensome on patient access,” and

“minimize the burden on the health care delivery system.” Id. § 355-1(f)(2). Congress

also directed the FDA to conduct periodic assessments of the REMS to ensure that the

requirements continue to adequately balance both safety and access concerns. Id. §§ 355-

1(d), (f)(5), (g).

       These latter provisions undermine Legislative Defendants’ effort to characterize

the REMS statutory regime as being exclusively about drug and patient safety. See, e.g.,

Hrg. Tr. 8:19–9:2. To the contrary, Congress directed the FDA to carefully calibrate each

REMS using a variety of tools to ensure both safe use of the drug and patient access.

       Having identified this federal interest, the next step of the analysis is to determine

whether the challenged state laws “prevent or frustrate” that interest. Geier, 529 U.S. at

873. When Congress charges a federal agency with balancing competing considerations

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      Case 1:23-cv-00077-CCE-LPA Document 98 Filed 02/05/24 Page 9 of 19
and, as part of that balancing, the agency expressly rejects regulations of the kind that

state law attempts to impose, the state law frustrates a federal interest and is preempted.

       As the Attorney General explained in his opposition to the Legislative Defendants’

motion to dismiss, AG Br., D.E. 86 at 16-19, this rule flows directly from the Supreme

Court’s decision in Geier. There, the Court held that federal law preempted state tort

lawsuits that would have required all cars to have airbags because such lawsuits would

have frustrated the Department of Transportation’s reasoned decision to allow a range of

different passive-restraint systems. Geier, 529 U.S. at 876-82. Indeed, the Department

had “rejected” a proposed “‘all airbag’ standard because of safety concerns (perceived or

real) associated with airbags, which concerns threatened a ‘backlash’ more easily

overcome ‘if airbags’ were ‘not the only way of complying.’” Id. at 879 (quoting 49 Fed.

Reg. 28990, 29001 (1984)). Against that historical backdrop, state tort law could not

seek to impose the same all-airbag rule that the Department had considered and rejected.

Id. at 881; cf. Arizona v. United States, 567 U.S. 387, 404-06 (2012) (holding that

Congress’s deliberate choice not to impose criminal penalties on immigrants for pursuing

employment preempted state law criminalizing the same behavior).

       To be sure, the Supreme Court’s precedent in this area may sometimes raise

difficult questions about whether an agency has sufficiently “considered” and then

“rejected” a particular regulation, such that a state law has been preempted. See, e.g.,

Hrg. Tr. 57:8-25. But there can be no question that an agency has considered and

rejected a regulation when the agency has affirmatively implemented and then


                                              6

     Case 1:23-cv-00077-CCE-LPA Document 98 Filed 02/05/24 Page 10 of 19
deliberately rescinded the rule. In that context, Geier clearly applies, and the preemption

conclusion is obvious.

       This is that easy case. Here, as discussed below, the FDA did not merely consider

and reject the mifepristone restrictions at issue. Rather, the agency affirmatively

implemented and deliberately rescinded the restrictions, acting under its express statutory

obligation to reevaluate REMS restrictions on an ongoing basis. 21 U.S.C. § 355-1(f)(5),

(g)(4). That unique regulatory history makes the preemption in this case crystal clear.

State laws cannot overrule the FDA’s expert judgment and reinstitute restrictions that the

agency included and then deliberately removed from a drug’s REMS plan.

       B.     The Challenged State Laws and Regulations Frustrate the FDA’s
              Regulatory Scheme and Are Preempted.

       Plaintiff challenges seven requirements under North Carolina law. All of these

requirements are preempted by the mifepristone REMS because the FDA once

implemented each of them but has since explicitly rejected them. North Carolina’s

imposition of the same requirements frustrates the carefully calibrated REMS designed

by the FDA and thus violates the Supremacy Clause.

       In-person examination, administration, and dispensing requirements: When the

FDA first approved mifepristone, it required a physician to examine the patient and

dispense the medication in person. FAC, Ex. H (D.E. 82-8). In addition, the patient was

required to take the medication in the presence of a physician. Id. Now, however, the

FDA has expressly removed the requirement that a patient be examined in person, and

mifepristone can be dispensed by certified pharmacies. The FDA has also made clear

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     Case 1:23-cv-00077-CCE-LPA Document 98 Filed 02/05/24 Page 11 of 19
that a physician need not be present when the patient takes the drug. FAC, Ex. L (D.E.

82-12), FAC, Ex. R (D.E. 82-18). But North Carolina law seeks to override the FDA’s

expert judgment and reinstitute the requirements that a qualified physician examine the

patient and dispense the medication in person, and that the patient take the medication in

the presence of a physician. N.C. Gen. Stat. §§ 90-21.83A(b)(2)a, 90-21.83B(a).

       In-person 72-hour consultation requirement: When the FDA first approved

mifepristone, it required a physician to inform the patient of the risks and benefits of

mifepristone in person. FAC, Ex. H (D.E. 82-8). Now, however, the FDA has

determined that a healthcare professional can “fully explain the risks of the mifepristone

treatment regimen, and answer any questions, as in any consent process, without physical

proximity.” FAC, Ex. P (D.E. 82-16). But North Carolina law seeks to override the

FDA’s expert judgment and reinstitute the requirement that a physician consult with the

patient in person before prescribing mifepristone. N.C. Gen. Stat. §§ 90-21.83A(b)(1),

(5), 90-21.90(a).

       In-person fourteen-day follow-up requirement: When the FDA first approved

mifepristone, it required patients to return for an in-person follow-up appointment

approximately fourteen days after taking the drug. FAC, Ex. H (D.E. 82-8). Now,

however, the FDA has determined that this mandatory, in-person follow-up appointment

is unnecessary and has rescinded the requirement. FAC, Ex. P (D.E. 82-16). But North

Carolina law seeks to override the FDA’s expert judgment and reinstitute the fourteen-

day, in-person follow-up requirement. N.C. Gen. Stat. §§ 90-21.83A(b)(4)l, 90-



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     Case 1:23-cv-00077-CCE-LPA Document 98 Filed 02/05/24 Page 12 of 19
21.83B(b), 90-21.93(8)-(9).

       Physician-only restriction: When the FDA first approved mifepristone, it required

that a physician prescribe the medication. FAC, Ex. H (D.E. 82-8). Now however,

mifepristone may be prescribed by a range of “health care providers,” including nurse

practitioners, certified midwives, and physician assistants. FAC, Ex. P (D.E. 82-16). But

North Carolina law seeks to override the FDA’s expert judgment and reinstitute the

physician-only restriction. N.C. Gen. Stat. §§ 90-21.83A(b)(2)a, 90-21.93(b)(1).

       Ultrasound requirement: The FDA has expressly rejected the need to give the

patient an ultrasound before prescribing mifepristone and indeed no longer requires the

patient to be examined in person at all. FAC, Ex. P (D.E. 82-16). But North Carolina

law seeks to override the FDA’s expert judgment and require that the patient receive an

ultrasound—that is, an in-person examination—before being prescribed mifepristone.

N.C. Gen. Stat. §§ 90-21.83A(b)(2)b, 90-21.93(b)(6), 10A Admin. Code § 14E.0305(d).

       Blood-type determination requirement: The FDA has expressly rejected the need

to administer a blood test before prescribing mifepristone to the extent that a blood test

requires in-person examination of the patient. FAC, Ex. L (D.E. 82-12), FAC, Ex. R

(D.E. 82-18). As discussed, the FDA originally required patients to be examined in

person prior to taking mifepristone, but rescinded any such in-person requirement in

recent years. But North Carolina law seeks to override the FDA’s expert judgment and

require an in-person examination during which the patient must receive a blood test

before being prescribed mifepristone. N.C. Gen. Stat. § 90-21.83(B)(a)(2).



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     Case 1:23-cv-00077-CCE-LPA Document 98 Filed 02/05/24 Page 13 of 19
       Nonfatal-complication reporting requirement: When the FDA first approved

mifepristone, it required physicians to report a variety of nonfatal complications. FAC,

Ex. H (D.E. 82-8). Now, however, physicians need only report fatal complications.

FAC, Ex. N (D.E. 82-14). But North Carolina law seeks to override the FDA’s expert

judgment and reinstitute the nonfatal-complication reporting requirement. N.C. Gen.

Stat. §§ 90-21.93(b)(1), (c).

                                      *      *      *

       Each of these North Carolina laws directly contradicts the careful balance that the

FDA—at Congress’s direction—has reached with respect to mifepristone access. They

impose restrictions that the FDA initially included as part of mifepristone’s REMS, but

ultimately rescinded, based on the agency’s considered judgment. Because well-settled

preemption principles prohibit States from attempting to override the FDA’s reasoned

decisions about how to balance patient safety against patient access, the state laws at

issue in this case must yield. See Buckman Co., 531 U.S. at 348; see also Geier, 529

U.S. at 878-82.

       C.     Legislative Defendants’ Contrary Arguments Are Unpersuasive.

       Legislative Defendants fall short in seeking to argue that the challenged provisions

are not preempted by the unique federal regulatory scheme at issue here.

       First, Legislative Defendants argue that individual States should have the freedom

to more strictly regulate REMS drugs than the FDA. Hrg. Tr. 35:8-19. Citing the

Supreme Court’s decision in Wyeth, Legislative Defendants argue that REMS are a


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     Case 1:23-cv-00077-CCE-LPA Document 98 Filed 02/05/24 Page 14 of 19
“floor,” but not a ceiling. Id. 33:6-9.

       This argument misunderstands both preemption analysis generally and Wyeth

specifically. Wyeth, it is true, explains that state law generally “offers an additional, and

important, layer of consumer protection that complements FDA regulation.” Wyeth v.

Levine, 555 U.S. 555, 579 (2009). But the word “complements” is critical in that

statement from the Court: Under well-settled preemption principles, state laws that

complement federal laws or interests pose no problem under the Supremacy Clause. Id.

at 578. State laws that contradict or frustrate federal laws or interests, however, cannot

stand. Geier, 529 U.S. at 906.

       In Wyeth, the state tort suit that the plaintiff sought to bring posed no obstacle to a

federal objective. 555 U.S. at 578. To the contrary, the state tort suit sought to promote

the same federal interest as the relevant provisions in the Federal Food, Drug, and

Cosmetic Act: the protection of consumers through labels that adequately warn of a

drug’s safety risks. The Court explained that nothing about tort suits holding

manufacturers accountable for their warning labels was inconsistent with federal law:

federal law places “responsibility for the content of [a drug’s] label” squarely on the

shoulders of manufacturers “at all times” and obligates manufacturers to update their

labels whenever they acquire new safety information that necessitates a revision. Id. at

568-71. The Court emphasized that it would have been different had the manufacturer

attempted to change the drug’s label and been rebuffed by the FDA. Id. at 571. In that

case, a state tort suit would no longer have been complementary of an agency’s judgment,


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     Case 1:23-cv-00077-CCE-LPA Document 98 Filed 02/05/24 Page 15 of 19
but rather would have run counter to it.

         This case, by contrast, presents the equivalent scenario to the FDA rejecting a

proposed drug label change. Congress has granted the FDA authority to weigh

competing factors and set the rules for how a certain subset of drugs can be prescribed

and dispensed. Manufacturers have no authority to override the FDA’s judgment. And

the FDA has explicitly considered and rejected the inclusion of the restrictions that North

Carolina state law seeks to impose as part of the mifepristone REMS. In that situation,

Wyeth counsels in favor of finding preemption, not against it, as Legislative Defendants

claim.

         Second, Legislative Defendants argue that the “savings clause” in the FDCA

confirms that States can pass restrictions on a drug’s use in addition to those in the drug’s

REMS. Hrg. Tr. 9:23-10:1, 25:3-10. Legislative Defendants are again incorrect. The

savings clause that Legislative Defendants cite was part of the 1962 amendments to the

FDCA and states that “[n]othing in the amendments made by this Act . . . shall be

construed as invalidating any provision of State law . . . unless there is a direct and

positive conflict between such amendments and such provision of State law.” Drug

Amendments of 1962, § 202, 76 Stat. 793. The 2007 amendments to the FDCA—the

ones that established the REMS regulatory scheme—included no such savings clause.

And even if they had, such a clause could not save the state laws at issue here. After all,

those state laws are in “direct and positive conflict” with the mifepristone REMS that the

FDA has devised, since they impose restrictions that the FDA has deliberately rescinded.


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     Case 1:23-cv-00077-CCE-LPA Document 98 Filed 02/05/24 Page 16 of 19
       Finally, Legislative Defendants argue that North Carolina must be permitted to

reinstitute the challenged requirements because they purportedly improve “safety” and

are “minimally burdensome.” Hrg. Tr. at 28:23-32:19. But these justifications have

been directly contradicted by the FDA’s expert judgment in revising the mifepristone

REMS. Congress has authorized that particular agency to decide whether certain

restrictions are necessary to ensure a drug’s safety or whether such restrictions are instead

unduly burdensome. By withdrawing the same restrictions that North Carolina state law

now seeks to impose, the FDA has made clear that those restrictions are either

unnecessary for safe mifepristone use, unduly burdensome on patients or doctors, or both.

That reasoned decision is conclusive in light of the Supremacy Clause.

                                     CONCLUSION

       For the foregoing reasons, the North Carolina laws that impose restrictions that the

FDA once included in the mifepristone REMS, but later withdrew, are preempted and

should be enjoined.


Dated: February 5, 2024                           Respectfully submitted,

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                                             13

     Case 1:23-cv-00077-CCE-LPA Document 98 Filed 02/05/24 Page 17 of 19
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Case 1:23-cv-00077-CCE-LPA Document 98 Filed 02/05/24 Page 18 of 19
                              CERTIFICATE OF COMPLIANCE

           I hereby certify that the foregoing brief complies with this Court’s January 17,

    2024 order (D.E. 95) because, excluding the parts of the brief exempted by Rule 7.3(d)

    (cover page, caption, signature lines, and certificates of counsel), this brief contains

    fewer than 3,000 words. This brief also complies with Local Rule 7.1(a).



                                                       Sripriya Narasimhan
                                                       Deputy General Counsel
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         Case 1:23-cv-00077-CCE-LPA Document 98 Filed 02/05/24 Page 19 of 19
